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                           UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                        No. 2:14-CR-152-SMJ-2
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 9                      Plaintiff,                    ORDER GRANTING
                                                      DEFENDANT’S MOTION
10 vs.                                                TO LIMIT CONTACT
11
   DESTANIE TALETHIA DANIEL,
12
13                      Defendant.
14         Before the Court is Defendant’s Motion to terminate telephone contact
15   between herself and Co-Defendant Jason Youker.              ECF No. 304.   Defendant
16   indicates that the United States does not object to the Motion.
17         Specifically, Defendant Daniel alleges that Mr. Youker, who is detained
18   pending trial and acting as his own attorney, has telephoned her from jail and in
19   doing so, has violated this Court’s order permitting contact between these two Co-
20   Defendants only for the purpose of discussing their minor children.
21         Defendant’s attorney has filed a Declaration indicating that five of the calls
22   placed by Mr. Youker to Defendant were recorded by the jail, that he has listened
23   to the recordings, and they include Mr. Youker discussing trial strategy, criticizing
24   Defendant for prejudicing Mr. Youker’s case, and disparaging Defendant’s
25   attorney.
26         Mr. Youker opposes Defendant’s Motion, but filed his Response in Cause
27   No.    2:14-CR-152-SMJ-1,        which      is     his      own    case    and   not
28   Defendant’s case. The Court is not considering Mr. Youker’s response.



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 1         Procedurally, Mr. Youker may not have standing to be heard on the motion
 2   before the Court. Under 18 U.S.C. § 3142, conditions of release are typically
 3   between the Court and a specific defendant, and do not formally account for the
 4   perspective of co-defendants or other individuals.
 5         Factually, Mr. Youker’s pleading in opposition does not claim any prejudice
 6   were Defendant’s motion to be granted, and does not counter Defendant Daniel’s
 7   attorney’s characterization of the conversations. Mr. Youker appears to be raising
 8   arguments to either enhance his own case, such as discovery of transcripts, or to
 9   influence Defendant Daniel’s attorney-client relationship.
10         Similarly, Defendant Daniel’s motion is not a vehicle for the Court to
11   affirmatively direct Co-Defendant Youker to certain conduct, or to cease certain
12   conduct. Mr. Youker is not before the Court. There may be other parties with
13   standing to enjoin Mr. Youker’s conduct, or more direct means to block telephone
14   calls from or to certain numbers.
15         For these reasons, Defendant Daniel’s Motion, ECF No. 304, is
16   GRANTED, and her conditions of release are MODIFIED to the extent that
17   Defendant Daniel shall have no direct or indirect contact with Co-Defendant
18   Youker, except through counsel, and then only for the purpose of exchanging
19   information directly related to the welfare of their children in common.
20         IT IS SO ORDERED.
21         DATED September 22, 2015.
22
23                               _____________________________________
                                           JOHN T. RODGERS
24                                UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
